                      Case 1:21-mj-00586-ZMF Document 1 Filed 09/02/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District of &ROXPELD
                  United States of America                             )
                             v.
                                                                       )
                     Rafael Rondon                                     )      Case No.
                   DOB: XXXXXX                                         )
                           and                                         )
                 Maryann Mooney-Rondon                                 )
                    DOB: XXXXXX                                        )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021               in the county of                                      in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                        Offense Description
        18 U.S.C. §§ 641 & 2- Theft of Government Property
        18 U.S.C. § 1512(c)(2)- Obstruction of an Official Proceeding
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds

        40 U.S.C. § 5104(e)(2)(B)- Entering and Remaining in the Gallery of Congress
        40 U.S.C. § 5104(e)(2)(C)- Entering and Remaining in Certain Rooms in the Capitol Building
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building

         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                     Complainant’s signature

                                                                                           Jonathan Lund, Special Agent
                                                                                                     Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                2021.09.02 18:35:47 -04'00'
Date:             09/02/2021
                                                                                                        Judge’s signature

City and state:                         :DVKLQJWRQ'&                             Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                     Printed name and title
